Case 1:04-cv-07280-GBD-SN Document 536-3 Filed 04/01/19 Page 1 of 5




            Exhibit 3
            Case 1:04-cv-07280-GBD-SN Document 536-3 Filed 04/01/19 Page 2 of 5



      World Assembly of Muslim Youth
           Member of the UN NGO's


                              19338/1
          Ref No, .
                           ··J440/06/Z2 :iJ_,,.JI                                                         rWl~~I~
         Date, ..... .     . 2019/02/2.7 :~JL:..I I                                             The Secretary General Office



                                                                                            J,Lt...JI ~ /J~"'1i.tl
                                                                                                1..WI JJl~)'I



                                                                  .. cu~..HJ cilll ~.JJ 1"'4:i.!lc r')l..uJI

        ~ . ) ~...L..J '=:""'4~':'I '-. •':               ,7,IJ L+f.WI iJ~I cl:•'               111>   Jl~i
        cl:I         , u>.11 ~J      .~.4,! w..L.-J_jj.:i J.--,At,jJ , 0462089901/3 ~.JJ 3271974449952

        C l_,.L..., ~ 0..i...J. l.!LJ~J          ' c ~J ul ~.LI OJ..L...ill LSp i C 4L....,.,., ~ lJ O.Jfo.U I
        ol,J ~J ,7,4:i~ JJ ,o:>11 Jl oJ..Llll 4W -I ~ , r' y .. y Jl r' \'\'\Y <,),-A ...L..'.i.4i
                                                                                                                   .cL L..i.:.J I




                                   ,.wt~\tl

                              -#';-..
                         ~_JJIJ~~~L.ea.
                                                                                                                                      •


P.O. Box:10845 Riyadh11443- Kingdom of Saudi Arabia                        ~J.,_....JI ½:J~I ~ 1- 1 I ttr u-->4_,,.JI - 1 •A lo '-:-'·1.14
Building 1079 King Fahd Road - Muhammadiah Dist.                                       ~-'-4>-1 1er--~ ..!Ull Jc,.,Jo-1, v~ ~ I iJJ
Tel: (+96611) 2050000 Fax: (+96611) 2050011                                  +(" ' 11) r • • · • 11 ,~~ + ("' 11) Y• o ••• , :I.Ail.A
                                           www.wamy.org e-mail: info@wamy.org
Case 1:04-cv-07280-GBD-SN Document 536-3 Filed 04/01/19 Page 3 of 5
Case 1:04-cv-07280-GBD-SN Document 536-3 Filed 04/01/19 Page 4 of 5
Case 1:04-cv-07280-GBD-SN Document 536-3 Filed 04/01/19 Page 5 of 5
